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                             ·UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                   PORTLAND DIVISION

UNITED STATES OF AMERICA                             3:19-cr-   4S0 - Bte
                v.                                   INFORMATION

KEVIN MARC CROTTEAU,                                 21 U.S.C. §§ 841(a)(l),
                                                     841(b)(l)(C), 841(b)(l)(E)(i) and 853
                Defendant.


                      THE UNITED STATES ATTORNEY CHARGES:

                                          COUNT 1
            (Conspiracy to Possess with Intent to Distribute Controlled Substances)
                        (21 U.S.C. §§ 841(a)(l), 841(b)(l)(C), and 846)

       Beginning at a time unknown and continuing up to and including August 2018, in the

District of Oregon, and elsewhere, KEVIN MARC CROTTEAU, defendant herein, did

unlawfully knowingly and intentionally combine, conspire, confederate and agree, with other

persons whose names are known and unknown, to commit the following objects of the

conspiracy, in violation of Title 21, United States Code, Sections 841(a)(l), 841(b)(l)(C),

841(b)(l)(E)(i), and 846:

                                   Objects of the Conspiracy

       A.      Possession with Intent to Distribute Methylenedioxymethamphetamine

               {MDMA): The conspirators agreed to possess with intent to distribute a mixture

               or substance containing a detectable amount of methylenedioxymethamphetamine

               (MDMA), a Schedule I controlled substance, in violation of Title 21, United

               States Code, Sections 841(a)(l), 841(b)(l)(C);


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         B.         Possession with Intent to Distribute Ketamine: The conspirators agreed to

                    possess with intent to distribute a mixture and substance containing a detectable

                    amount of ketamine, a Schedule III controlled substance, in violation of Title 21 ,

                    United States Code, Sections 841(a)(l), 841(b)(l)(E)(i);

                                     FORFEITURE ALLEGATION

         Upon conviction of the offense alleged in Count 1, defendant KEVIN MARC

CROTTEAU, shall forfeit to the United States, pursuant to 21 U.S.C. § 853, any property

constituting, or derived from, proceeds obtained, directly or indirectly, as a result of the aforesaid

violation, and any property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of said violation, including but not limited to the following:

               •    A money judgment for a sum of money equal to the amount of property
                    representing the amount of proceeds obtained as a result of the offense alleged in
                    Counts 1.

         If any of the above-described forfeitable property, as a result of any act or omission of the

defendants:

         (a)        cannot be located upon the exercise of due diligence;

         (b)        has been transferred or sold to, or deposited with, a third party;

         (c)        has been placed beyond the jurisdiction of the court;

         (d)       · has been substantially diminished in value; or

         (e)        has been commingled with other property which cannot be divided without

difficulty;

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it is the intent of the United States, pursuant to 21 U.S.C. § 853(p) as incorporated by 18 U.S.C.

§ 982(b), to seek forfeiture of any other property of said defendant up to the value of the

forfeitable property described above.

Dated: October ~ ' 2019                              Respectfully submitted,

                                                     BILLY J. WILLIAMS
                                                     United States Attorney


                                                    {;J~A-Jv----
                                                     WILLIAM M. NARUS CAB #243633
                                                     Assistant United States Attorney




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